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                                                LSU
                                  PERMANENT MEMORANDUM 73
                       Title IX Policy Prohibiting Sexual Misconduct

POLICY DIGEST
Monitoring Unit: Office of General Counsel & Legal Affairs
Initially Issued: December 15, 2015
Last Revised: August 14, 2020




I. INTRODUCTION

This Permanent Memorandum outlines the procedures for addressing and resolving
allegations of Sexual Misconduct (e.g. sexual assault, stalking, dating violence, domestic
violence, sexual exploitation, sexual harassment, retaliation, etc.). LSU’s Title IX
Coordinator is responsible for administering this policy at all University locations.


II. NONDISCRIMINATION NOTICE

LSU is committed to creating an environment of inclusion and respect among students,
faculty, staff and the community at large. LSU does not discriminate on the basis of race,
creed, color, marital status, sexual orientation, gender identity, gender expression, religion,
sex, national or ethnic origin, age, disability, genetic information, veteran's status or any
other status or organization protected by state or federal law, in its programs and activities.
This includes all aspects of LSU’s education programs and activities, including admission
and employment.

Inquiries regarding the non-discrimination policy should be directed to the individual or
individuals designated in each campus’ applicable policy. Inquiries about the application of
Title IX and this policy may be directed to the LSU Title IX Coordinator, the respective Title
IX Campus Coordinator, or to the U.S. Department of Education Office for Civil Rights
Assistant Secretary. https://www2.ed.gov/about/offices/list/ocr/contactus2.html


III. POLICY STATEMENT/PURPOSE

Sexual Misconduct violates an individual’s fundamental rights and personal dignity and will
not be tolerated. LSU prohibits and is committed to an environment free of discrimination
on the basis of sex and Sexual Misconduct. This policy affirms these principles and
provides recourse for individuals whose rights have been violated.

LSU will take prompt action to prevent prohibited conduct, discipline those who violate this




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policy, prevent recurrence of prohibited behavior, and effect equitable remedies.

LSU will affirmatively promote prevention, awareness and training programs to encourage
individuals to report concerns or complaints. Everyone has a responsibility to prevent and
report acts of prohibited conduct. The entire LSU community is responsible for fostering a
welcome environment conducive to learning.

IV. POLICY COVERAGE/SCOPE

This policy applies to all members of the University community, including faculty, staff,
students, volunteers, organizations and any other affiliate that participates in activities
associated with LSU.

This policy covers conduct that occurs:
           • In the course of LSU’s operations;
           • On campus or any other University owned, leased, controlled or operated
              location;
           • Within the bounds of the United States;
           • At any LSU sponsored event or organizational activity in the United States
              whether on or off campus; and/or
           • Where LSU exercised substantial control over the Respondent in the context
              of where or how the alleged incident occurred.

Students are responsible for their conduct from notice of admission through the awarding
of a degree or departure from the University. Employees are covered by this policy when
representing LSU (or deemed to be a representative of LSU) whether before, during or
after work. This policy also applies to any person who is both a student and an employee
at LSU.

Anyone subjected to Sexual Misconduct is encouraged to file a complaint with the Title IX
office. Any individual who has experienced Sexual Misconduct is also urged to utilize
supportive measures available through the University whether or not the person who
caused the harm is a University community member. Supportive measures are available
whether or not a Formal Complaint is filed.

This policy is not intended to infringe on or restrict rights guaranteed by the United States
Constitution including free speech under the First Amendment, due processes clauses of
the Fifth and Fourteenth Amendments and the Fourth Amendment.




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                                    Appendix 1
                              REPORTING MISCONDUCT

REPORTING MISCONDUCT

  1. LSU strongly urges prompt reporting of any incidence of Sexual Misconduct.
     Complaints may be reported to:
        • LSU Title IX Coordinator, Title IX Campus Coordinator or Deputy Coordinator
        • Office of Student Advocacy and Accountability or Dean of Students
        • Office of Human Resource Management
        • Campus police department
        • Confidential survivor support services on campus (The Lighthouse Program,
            Confidential Advisors, etc)
        • Or any other Responsible Employee
        • Online at respective campus TIX webpages

             *A link to each campus’ Title IX page may be found on the LSU Title IX page
             at https://www.lsu.edu/titleix/

  2. An individual may also confidentially report to survivor support services (The
     Lighthouse Program, Confidential Advisors), mental health counselors, the LSU
     Ombudsperson, staff operating in a student health center capacity, or others
     designated by the University with a privileged role.

  3. Upon notice of a possible complaint, Title IX Campus Coordinator will provide the
     Complainant information on reporting options, pursuing criminal charges, health
     care, counseling and supportive measures available.

  4. Individuals are also strongly encouraged to report the offense to campus police or
     local law enforcement if they believe criminal conduct occurred (i.e. sexual assault,
     sexual battery, stalking, etc.).

  5. To the extent possible, the Complainant and those who receive the complaint
     should preserve evidence and not disturb a potential crime scene. (This includes
     preserving all text or email communications that may be related to the incident.)

  6. Responsible Employees who receive notice or witness incidents of Sexual
     Misconduct must promptly notify the Title IX Campus Coordinator. The following are
     exceptions to the Responsible Employee reporting requirement:

         •   Information disclosed at public awareness events (e.g. Take Back the Night,
             candlelight vigils, protests, speak outs), or other public forums in which
             individuals may disclose incidents of prohibited conduct as part of educating
             others, or




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        •   Disclosures made in the course of academic work product consistent with
            the assignment (ex. Public speaking class, creative writing assignment, group
            work)


RIGHTS OF COMPLAINANT AND RESPONDENT FOLLOWING A REPORT

  1. The Complainant shall have the discretion and right to decide whether or when to
     file a Formal Complaint, report to law enforcement, and determine whether to
     proceed with a Formal Complaint, at the individual’s discretion.

  2. The Respondent shall have the right to be presumed not responsible of all
     allegations until found responsible for the alleged conduct by a hearing panel under
     this policy.

  3. The Complainant and Respondent have equal rights:
        • To be treated with dignity and respect by LSU officials;
        • To take advantage of supportive measures;
        • To receive timely notice of proceedings, processes and outcomes under this
           policy;
        • To have an Advisor present at any meeting or hearing under this policy;
        • To refuse to engage in informal resolution of a complaint;
        • To present witnesses, including fact and expert witnesses, and any relevant
           evidence;
        • To receive amnesty for certain student misconduct, such as drug or alcohol
           violations, that occurred ancillary to the complaint at hand and consistent
           with this policy;
        • To be free from retaliation for reporting violations of this policy or
           cooperating with an investigation;
        • To be informed in writing of the outcome or resolution of the complaint, any
           sanctions, and the rationale for the outcome, where permissible;
        • To exercise a right of appeal as afforded in this policy.




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                                    Appendix 2
                           COMPLAINT AND INVESTIGATION


INITIAL RESPONSE TO REPORTS

Upon actual knowledge of a report of Sexual Misconduct, the Title IX Campus Coordinator
will promptly contact the Complainant to discuss the following:
          • The process for filing a Formal Complaint;
          • The right to have an Advisor; and
          • The availability of supportive measures regardless of whether a Formal
              Complaint is filed.

FORMAL COMPLAINT PROCESS

   1. A Complainant may file a Formal Complaint at any time. A Formal Complaint must
      include the following:

         •   Facts alleging prohibited conduct under this policy:
         •   A signature (electronic or handwritten) or other designation that the
             Complainant is the individual choosing to file a Formal Complaint;
         •   Some allegation or evidence the conduct occurred at a location or event
             covered by this policy; and
         •   A statement that the Complainant is a student or other person seeking to
             participate in a program or activity of the university.

   2. A Formal Complaint will be reviewed by the Title IX Coordinator to determine if it
      meets the threshold to proceed. If all necessary component are present and the
      alleged conduct falls under this policy, an investigation will commence.

   3. If the Formal Complaint warrants dismissal, the Complainant will be notified in
      writing by the Title IX Campus Coordinator within five business days of filing. Other
      reasons for dismissal may include:
           • Withdrawal by Complainant;
           • At the time of complaint, the Complainant is no longer participating or
              attempting to participate as part of the LSU community; or
           • Respondent no longer affiliated with LSU.
      If a Formal Complaint is dismissed under this policy, the same facts may form the
      basis for a complaint under the applicable student code of conduct or other relevant
      policy or procedure. (i.e. non-sex or gender-based misconduct).

   4. A Formal Complaint under this policy may be consolidated with other complaints
      when there are multiple allegations of conduct that arise out of the same facts or
      circumstances, such as when there are multiple Complainants or Respondents.

   5. In very limited circumstances, a Title IX Campus Coordinator may file a Formal
      Complaint when the Complainant decides not to do so if the is determined that the



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     allegations present a risk of substantial harm to community member(s). This may
     include use of threats; use of weapons; use of violence; a continued pattern of
     behavior; and/or predatory behavior.


NOTICE AND INVESTIGATION

  1. When an investigation commences the Respondent shall be sent written notice
     including the following:
         • The specific charges alleged;
         • The date and location, if known, of the incident;
         • A summary of the allegation with reasonable specificity; and
         • A request to meet with the Title IX Investigator.

  2. The Investigator will make every effort to conduct a thorough and prompt
     investigation based on the facts and circumstances of each complaint within 30
     business days of the notice. Complex or consolidated investigations may take
     longer.

  3. The investigation shall include meetings with the parties involved, including
     witness and any other parties the Investigator may deem appropriate.
        • The Respondent and Complainant will be given the opportunity to identify
            witnesses to be interviewed.
        • The Investigator may seek and collect, and parties may submit, any
            documents or other relevant information, including, but not limited to:
                o Photographs
                o Video or audio recordings
                o Information from social media
                o Screenshots or other communications
        • At the conclusion of the investigation, the Investigator shall prepare a draft
            investigative report that summarizes the investigation, and all relevant
            evidence obtained.
        • The draft report shall be sent electronically to each party and the party’s
            Advisor, if identified.
        • All evidence shall be included, even that on which the university does not
            intend to rely in reaching a determination regarding responsibility and shall
            include inculpatory and exculpatory evidence whether obtained from a party
            or other source.

  4. The parties shall have 10 business days from the date a draft report is submitted to
     review and submit a written response. The Investigator will review the comments
     and prepare a final report.

  5. The final investigative report shall:
        • Include a timeline of events;
        • Include facts and circumstances surrounding the complaint;




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 •   Summarize relevant evidence; and
 •   Be sent electronically, along with all evidence, to each party and Advisor, if
     identified, at least 10 business days prior to a hearing.

     *All evidence shall be included, even that on which LSU does not intend to
     rely in reaching a determination regarding responsibility and shall include
     inculpatory and exculpatory evidence whether obtained from a party or other
     source.




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                                   Appendix 3
                               INTERIM MEASURES

1. Interim measures are remedial measures taken to help deescalate and offer a short-
   term temporary resolution during the pendency of a resolution.

2. The Campus Title IX Coordinator, or designee, may recommend interim measures
   such as a “no contact” order or suspend a Respondent from participating in the
   education program or activity on an emergency basis.

3. The following procedure applies to an emergency removal or limitation:
      • The Title IX Coordinator must make a determination that the Respondent
          presents an immediate threat to the physical health or safety of any other
          individual arising from the allegations of Sexual Misconduct.
      • Written notice must be provided to the Respondent through the institutional
          email address of the reason for the interim measure.
      • The Respondent shall have a right to notify the Title IX Campus Coordinator
          in writing, of any request to challenge the suspension or limitation.
      • The Title IX Coordinator shall provide an opportunity to meet (virtually or in
          person, at the discretion of the Title IX Coordinator) within three business
          days of receipt of notice.
      • Title IX Coordinator shall provide notice in writing of the decision within three
          business days after the meeting via institutional email.
      • The interim action shall be in effect while request for review and review are
          pending.




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                                   Appendix 4
                              INFORMAL RESOLUTION

1. Informal resolution is a process whereby the parties work with a professional to
   reach a resolution of the complaint without a formal hearing. This process is
   completely voluntary and requires the consent of both parties. A party may
   terminate the informal resolution process at any time before conclusion.

2. The Title IX Coordinator must determine that the circumstances and parties are
   appropriate for informal resolution. Complaints classified as sexual assault, rape,
   statutory rape, incest or involving violence resulting in significant harm to others are
   not appropriate for informal resolution.

3. The Title IX Coordinator shall appoint a trained individual to facilitate the process.

4. Informal resolution will never:
       • Be required as a condition of enrollment or continuing enrollment,
         employment or continuing employment or enjoyment of any other right;
       • Require a waiver of right to investigation and adjudication under the Formal
         Resolution process;
       • Be offered as a process unless a Formal Complaint is filed;
       • Be utilized to resolve an allegation against a Respondent employee by a
         student Complainant.

5. Informal Resolution Agreements
       • If a Formal Complaint is resolved through information resolution, a written
         agreement shall be issued including any terms, obligations or outcomes.
       • Agreements must have the approval of the Complainant and Respondent.
       • The agreement shall be shared electronically with the parties by the TIX
         Campus Coordinator within five business days of resolution.
       • Discussion and information generated during the informal resolution process
         are considered confidential and shall not be utilized or admissible in the
         formal resolution process.
       • No facilitator of an informal process may be called as a witness in any
         procedure under this policy.




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                                Appendix 5
              PROCEDURES FOR FORMAL RESOLUTION/PANEL HEARING

FORMAL RESOLUTION

The formal resolution process is the procedure by which allegations in a Formal Complaint
are presented in a formal PM-73 hearing for a determination as to whether this policy was
violated.


PRE-HEARING CONFERENCE

A pre-hearing conference shall be coordinated by the Title IX Campus Coordinator and
chaired by the Hearing Panel Chair. Parties and Advisors are encouraged, but not required,
to be present.

This conference shall be conducted at least two business days prior to a scheduled
Hearing Panel and 10 business days after the investigative report is sent to the parties and
Advisors, if applicable.

The purpose of the pre-hearing conference shall be to:
      1. Identify the panelists and address any objections to members of the Hearing
         Panel;
      2. Address evidentiary issues or questions to be posed a the hearing (i.e. numbers
         of witnesses, use of documents, expected length of hearing, etc.);
      3. Ensure parties will have Advisors available to conduct cross examination and
         that the Advisor is familiar with the hearing process under this policy;
      4. Provide a forum to address any questions related to the Hearing Panel process
         and procedures.


HEARING PANEL

The PM-73 Hearing Panel shall consist of one chair and two other LSU employees trained
in adjudication. It shall afford each party an opportunity to present evidence and question
opposing parties and witnesses.


ADVISORS

Each party is permitted to be represented by an Advisor. If a party does not have an
Advisor at the Hearing, one shall be provided by LSU at no cost. The Advisor may be, but
is not required to be, an attorney. The Advisor is the only person who may conduct cross-
examination on behalf of a Complainant or Respondent. An Advisor will be appointed
even in situations where a party elects not to participate in the Hearing.




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PRESENTATION OF EVIDENCE

   1. The procedure and order for presentation of evidence will be set and maintained by
      the Hearing Panel Chair. Each party will be allowed the opportunity to present
      relevant evidence to the Hearing Panel.

   2. The Hearing Panel Chair will allow each party to present its own relevant evidence
      through submission of documents and witness testimony. Each witness will then be
      subject to cross-examination by other parties. Cross-examination must be
      conducted directly, orally and in real time by the party’s Advisor and never by a
      party personally.

   3. Only questions relevant to determining the veracity of the allegations or the
      credibility of a witness will be allowed. The Hearing Panel Chair will have sole
      authority to determine whether evidence presented or a question in cross-
      examination is relevant and whether it will be permitted. The Hearing Panel Chair
      must explain any decision to exclude evidence or a question as not relevant.

   4. Questions or evidence about a Complainant’s sexual predisposition or prior sexual
      behavior are not relevant, unless: (1) offered to prove that someone other than the
      Respondent committed the conduct alleged in the complaint, (2) concern specific
      incidents of the Complainant’s prior sexual behavior with Respondent and are
      offered to prove consent.

   5. Only evidence submitted to cross-examination may be considered by the Hearing
      Panel to determine responsibility.

   6. The Hearing will be recorded and the recording or transcript will be made available
      for the parties for review.


FAILURE TO APPEAR/ANSWER

The Hearing Panel cannot draw an inference about the determination regarding
responsibility based solely on: (1) A party’s or witness’s absence from the hearing or (2)
Refusal to answer questions.


DELIBERATIONS

The Hearing Panel shall deliberate in closed session with only panelists present. The
Hearing Panel is to apply the preponderance of the evidence standard when determining
responsibility. In order to find a Respondent responsible under the preponderance of the
evidence standard, the evidence must show that the charge is more likely supported than
not.
Upon reaching a decision, the Hearing Panel will invite the parties and Advisors to return
to hear of the Hearing Panel’s finding regarding responsibility for a violation of this policy.




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If the Respondent is found responsible, the Hearing Panel shall move to address sanctions.


DETERMINATION AND SANCTIONS

If the Respondent is found responsible, the Hearing Panel may request input from the
parties to evaluate possible sanctions. Prior conduct history of the Respondent will be
considered when determining an appropriate sanction. If additional information is
requested, the Hearing Panel shall deliberate in closed session with only panelists present.

The Hearing Panel will notify the parties and Advisors of any sanction imposed. The
Hearing Panel will prepare and provide to the Title IX Campus Coordinator, within five
business days of the Hearing, a written determination which must include:
          • Identification of the allegations constituting Sexual Misconduct;
          • A description of the procedural steps taken from receipt of the Formal
             Complaint through determination, including any notifications to the parties,
             interviews with parties and witnesses, evidence gathered and hearings held;
          • Findings of fact supporting the determination;
          • Conclusions regarding the application of the policy to the facts;
          • A statement explaining the sanction for each policy violation found
             “responsible”;
          • Whether additional remedies designed to restore or preserve equal access
             will be provided by LSU to the Complainant.

The Title IX Campus Coordinator is responsible for effective implementation of any
remedies and sharing of outcomes. The written determination prepared by the Hearing
Panel chair shall be shared electronically by the Title IX Campus Coordinator with the
parties and Advisors within three business days of receipt from the Hearing Panel.

The determination regarding responsibility and sanctions becomes final either:
         • If appealed, the date written notice is provided to the parties of the appeal
            result, or
         • If not appealed, the date on which an appeal would no longer be considered
            timely.


POSSIBLE CORRECTIVE ACTIONS

Students found responsible for violating this policy may expect the range of sanctions to
include, but not be limited to, disciplinary probation, deferred suspension, suspension,
expulsion psychological assessment, counseling, social restrictions, limited presence on
campus, revocation of admission or degree. Additional sanctions may also be imposed
when appropriate.




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An employee found responsible for violating this policy may expect the range of sanctions
to include, but not be limited to, suspension, administrative leave, demotion, psychological
assessment, counseling, restricted presence on campus or termination of employment.

Both the Complainant and Respondent will be informed of the outcome of any corrective
action or disciplinary process.




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                                        Appendix 6
                                         APPEAL
RIGHT OF APPEAL

Any party may appeal a Hearing Panel determination. The following is an exclusive list of
the bases for appeal:
          • Evidence of bias by a Hearing Panel member.
          • New evidence has become available since the Hearing Panel hearing that
              was not previously available with due diligence.
          • There was a significant and prejudicial departure from the procedures and
              standards in this policy.
          • The outcome was clearly erroneous based the facts and evidence presented
              to the Hearing Panel.
          • The sanctions imposed were inappropriate for the violation.

APPEAL PROCEDURES

Notice of Appeal must be in writing and shall be forwarded to the Title IX Campus
Coordinator within 10 business days of email notification of the Hearing Panel decision.
The Notice of Appeal shall contain the following information:
          • Name of the Complainant and Respondent;
          • Identify the ground(s) for appeal;
          • If appeal is based upon discovery of new information, a
             description/documentation of the new information and reason it was not
             discoverable prior to the Hearing Panel hearing.
Upon receipt of the Notice of Appeal, the Title IX Campus Coordinator, within two business
days of receipt of the Notice of Appeal, shall:
          • Confirm receipt of the Notice of Appeal to the appealing party;
          • Notify any other party of the appeal; and
          • Contact the LSU Title IX Coordinator (if appeal went to a campus
              coordinator).
The LSU Title IX Coordinator, or designee, and respective Title IX Campus Coordinator
shall, within 10 business days of notice, review the Notice of Appeal. If the required
elements for appeal exist, the LSU Title IX Coordinator shall:
            • Appoint reviewer(s) (no more than three);
            • Notify the parties of identity of the identity of reviewer(s); and
            • Provide the parties five business days to challenge the reviewer(s) for conflict
                of interest or bias. (The LSU Title IX Coordinator in conjunction with the
                respective Title IX Campus Coordinator will determine if cause exists to
                excuse the reviewer.)

The Title IX Campus Coordinator shall forward the appellate record to the reviewer. The
record shall include, but is not be limited to:
       • All evidence introduced at the hearing;




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       •   Any pre-hearing determinations from the Hearing Panel Chair;
       •   The written findings of the Hearing Panel; and
       •   The recording or transcript of the formal hearing.

Within 10 business days of receipt of the appellate record, the reviewer(s) shall render a
written decision including finding and rationale and forward to the LSU Title IX Coordinator.
The reviewer may:
      • Uphold the Hearing Panel outcome; or
      • Modify the Hearing Panel outcome for responsibility and/or sanctions; or
      • Overturn the Hearing Panel outcome and remand for a new hearing.

The LSU Title IX Coordinator shall notify the respective Title IX Campus Coordinator who
shall then notify the parties and Advisors within two business days of receipt of the
decision.

Appeal decisions are final. In the event of remand for rehearing, the subsequent Hearing
Panel outcome may be appealed in accordance with the provisions herein. Any appeal
right exercised under this policy shall complete the process.




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                                     Appendix 7
                             MISCELLANEOUS PROVISIONS


PROHIBITION OF RETALIATION

No person may intimidate, threaten, coerce or discriminate against any individual for the
purpose of interfering with any right or privilege secured by Title IX or this policy or
because the individual has made a report or complaint, testified, assisted or participated or
refused to participate in any manner in an investigation, proceeding or hearing under this
policy. Retaliation is a violation of this policy and shall constitute misconduct subject to
disciplinary action herein. LSU will take steps to prevent recurrence and remedy the effects
of any violation of this policy.
Charging an individual with disciplinary actions outside this policy for making materially
false statements in bad faith in the course of a grievance proceeding does not constitute
retaliation. A finding of responsibility against a Respondent, alone, is not sufficient to
conclude that any party made a materially false statement in bad faith.

TITLE IX COORDINATORS

The President shall designate the LSU Title IX Coordinator who shall oversee, on all LSU
campuses, the implementation, enforcement, and coordination of Title IX. Each Chancellor
shall designate a Title IX Campus Coordinator to oversee on-campus Title IX compliance
for their respective campus. Campuses may appoint Deputy Title IX Coordinator(s) to
assist the Title IX Campus Coordinator in their duties. A listing of Campus designees may
be found on the LSU Title IX webpage at https://www.lsu.edu/titleix/ or by contacting the
LSU Title IX Coordinator:
        Jennie Stewart
        University Administration Building
        3810 W. Lakeshore Drive, Ste 123
        Baton Rouge LA 70803
        (225) 578-3918
        jstewart@lsu.edu

The President shall also designate a Deputy Title IX Coordinator for Athletics. In
consultation with the Chancellors and Athletic Directors for each campus, this individual
will monitor sports equity, including offerings, participation, and scholarships on all
campuses for Title IX compliance. Complaints, supportive measures or other concerns
related to issues of Sexual Misconduct involving student athletes or Athletics personnel
(other than those involving sports equity) shall be addressed in accordance with this policy.


AMNESTY POLICY

LSU encourages reporting and seeks to remove barriers in reporting of Sexual Misconduct.
A Complainant or witness who, in good faith, reports Sexual Misconduct, shall not be
sanctioned for nonviolent student conduct violations, such as underage drinking, provided



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such violation did not place the health and safety of any other person at significant risk of
harm.


CONFIDENTIALITY

To the extent permitted by law, LSU will strive to maintain the confidentiality of any
individual under this policy who:
           • Has made a report or complaint;
           • Has been named as a perpetrator;
           • Has been named as a Respondent; or
           • Has been named as a witness.


COOPERATION WITH LAW ENFORCEMENT

LSU will comply with law enforcement requests for cooperation and such cooperation
may require LSU to temporarily suspend the fact-finding aspect of an investigation under
this policy while the law enforcement agency is in the process of gathering evidence. LSU
will promptly resume its investigation as soon as notified by law enforcement that it has
completed the initial evidence gathering process. LSU may provide up to 10 business
days to allow for the law enforcement agency criminal process/investigation to unfold
prior to resuming the fact-findi ng aspect of the investigation under this policy.

The University will implement appropriate interim steps and remedies during the law
enforcement agency's investigation to provide for the safety of the parties to the case, the
campus community, and to avoid any instance of retaliation.

PREEMPTION

To the extent a conflict exists between State or local law and Title IX, the obligation to
comply with Title IX is not obviated or alleviated by any State or local law. To the extent
other LSU or campus-based policies may conflict with this policy, the provisions of this
policy shall supersede and govern.

TASK FORCE

Each campus shall establish a task force to address Sexual Misconduct. Each task force
shall invite student members to be represented through their respective student
government body or other student organizations.


RECORD KEEPING

Records created or received under this policy will be maintained for seven years from the
date each case is closed. The following shall be kept as a part of the record:
          • Each investigation including any determination regarding responsibility;



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          •   Any audio or audiovisual recording or transcript of a hearing;
          •   Any disciplinary sanctions imposed on the Respondent;
          •   Any remedies provided to the Complainant designed to restore or preserve
              equal access to LSU’s education program or activity;
          •   Any appeal and result therefrom;
          •   Any informal resolution and result therefrom;
          •   All materials used to train Title IX Coordinators, Investigators, decision-
              makers, and any person who facilitates an informal resolution process; and
          •   Records of any actions, including supportive measures, taken in response to
              a report or Formal Complaint.

LSU may be required to disclose information on a need-to-know basis in order to properly
address a complaint, when there is a threat to others, pursuant to subpoena, or other court
or administrative order, or as may be required by applicable law. Violations of
confidentiality or privacy by any other persons involved in the resolution, investigation or
administration of the complaint, including any employee, faculty, staff, or student may
result in disciplinary or corrective action.


MEMORANDUM OF UNDERSTANDING
Each campus shall make diligent efforts to enter into Memorandum of Understanding
(MOU) with law enforcement and criminal justice agencies in the parish in accordance with
Louisiana law. In accordance with La. R.S. 17:3399.11, et seq., the MOUs should:
          • Clearly delineate responsibilities;
          • Establish protocols for investigation, including standard for notification and
             communication and measures to promote evidence preservation;
          • Include agreed upon training and requirements for the parties on issues
             related to sexually-oriented criminal offenses for the purpose of sharing
             information and coordinating training, to the extent possible;
          • Evidence a commitment and protocols to share information; and
                 • State that local law enforcement agencies shall include information on
                     police reports regarding status of alleged victim as an LSU student
The MOUs should be updated every two years. The MOU should provide for joint or
shared trauma-informed training specific to assisting sexual assault survivors.


CAMPUS CLIMATE SURVEY

Each campus shall administer a Campus Climate Survey every three years (2022-2023,
2025-2026, etc) to assess the knowledge, perceptions and behaviors of its students,
faculty and staff regarding Sexual Misconduct. Each campus is encouraged to supplement
the statewide survey with additional information specific to its unique characteristics that
may assist in preventing Sexual Misconduct and administering strategies dealing with
Sexual Misconduct. The Campus Climate Survey shall be submitted to the LSU Title IX
Coordinator by June 1 of each year the survey is required.



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TRAINING, EDUCATIONAL, AND PREVENTION PROGRAMS

Each campus shall regularly offer training, educational and prevention programs designed
to inform the campus community about Sexual Misconduct, PM-73 and Title IX. Each
campus will develop educational programs, prevention programs, and other events
designed to reduce the incidence of sexual violence on campus or within the community.
Each campus should identify and include a bystander intervention program and programs
addressing issue related to this policy. Information on these programs shall be available on
each campus’s Title IX website.


TRANSFER

The Board of Regents’ Uniform Policy on Sexual Assault requires that: (1) institutions
communicate with each other regarding transfer of students against whom disciplinary
action has been taken as a result of violation regarding sexually-oriented criminal offenses,
as defined in La. R.S. 44:51 or any sexual abuse offense as defined in La. R.S. 14:403; and
(2) institutions withhold transcripts of students seeking transfer with pending disciplinary
action relative to sexually-oriented criminal offenses, until such investigation and
adjudication is complete.




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                                         Appendix 8
                                        DEFINITIONS

Actual Knowledge Any reasonable information of Sexual Misconduct or allegations of
Sexual Misconduct provided to a Title IX Coordinator, Deputy Coordinator, or any other
Responsible Employee. Notice would also include personal observation of such conduct
by any employee.
Advisor May be any person the Complainant or Respondent chooses, or appointed by
LSU should the party not select someone. The Advisor's function shall be to support
and/or consult with the party during any proceeding or meeting under this policy. The
Advisor may, but is not required to, be an attorney. Participation shall be limited as
stated herein.
The Advisor may not act as a spokesperson except:
         • During a Prehearing Conference or
         • During the Hearing when conducting cross-examination of a witness.
Once a party shares the identity and contact email address for their Advisor, that Advisor
shall be copied on correspondence from LSU on the case in accordance with the
Procedures section of this policy. A party may change Advisors at any time but must
provide notice to the Title IX Campus Coordinator or Title IX Lead Investigator.
Confidential Advisor Campus designees selected by Title IX Campus Coordinators and
trained in accordance with Louisiana law to provide confidential services to students
regarding reporting, supportive measures, rights to report to law enforcement and other
information under this policy.
Coercion The use of express or implied threats, intimidation, or physical force placing an
individual in fear of immediate harm or physical injury or causes a person to engage in
unwelcome sexual activity. Coercion may include administering a drug, intoxicant, or other
substance with intent to impair one’s ability to consent prior to engaging in sexual activity.
Complainant An individual who believes that they are the victim of Sexual Misconduct
under this policy and notifies the Title IX Coordinator or a Responsible Employee of the
incident.
Consent Clear, knowing and voluntary demonstrated through mutually understandable
words or actions clearly indicating willingness to engage in a specific sexual activity and
any conditions on the activity. It is active, not passive, and silence, absent actions
evidencing permission, is not consent. Responsibility for obtaining consent lies with the
individual initiating the sexual activity.
Consent to engage in sexual activity may be withdrawn by any person at any time. Once
withdrawal of consent is expressed, the sexual activity must immediately cease. Consent
is automatically withdrawn by a person incapable of giving consent. A current or previous
consensual intimate relationship between the parties does not itself imply consent or
preclude a finding of responsibility.




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To give consent, a person must be of legal age. Consent cannot be obtained through
Coercion, fraud or from a person who the alleged offender knows or should reasonably
know is incapacitated. Use of alcohol or drugs does not diminish the responsibility to
obtain consent.

Formal Complaint A document filed by a Complainant or signed by the Title IX
Coordinator alleging Sexual Misconduct against a Respondent and requesting LSU to
investigate the allegation. At the time of filing, a Complainant must be participating in or
attempting to participate in the educational program or activity of LSU.
A Formal Complaint may be filed with the Title IX Coordinator or TIX Campus Coordinator;
         • In person,
         • By mail,
         • By electronic mail,
         • By phone, or
         • By submission through designated online portals.
A Formal Complaint by a Complainant must include the individual’s physical or digital
signature or otherwise indicate that the Complainant is the person filing the complaint.
When the Title IX Coordinator/Campus Coordinator signs a Formal Complaint, the
Coordinator is not a Complainant or otherwise a party and must otherwise comply with
duties of the position.

Formal Resolution A process by which allegations are presented to a Hearing Panel for
determination as to whether a Respondent is responsible for a violation of this policy.

Hearing Panel A body assembled to hear testimony and weigh evidence resulting in a
decision regarding responsibility based on the preponderance of the evidence.
Incapacitation An individual is considered to be incapacitated if, by reason of mental or
physical condition, the individual is manifestly unable to make a knowing and deliberate
choice to engage in sexual activity. Being drunk or intoxicated can lead to incapacitation;
however, drunkenness or intoxication is not necessarily the same as incapacitation.
Incapacitation is a state beyond drunkenness or intoxication. Individuals who are asleep,
unresponsive or unconscious are incapacitated. Other indicators that an individual may be
incapacitated include, but are not limited to, inability to communicate coherently, inability
to dress/undress without assistance, inability to walk or stand without assistance, slurred
speech, loss of coordination, vomiting, or inability to perform other physical or cognitive
tasks without assistance.

Informal Resolution A process whereby the parties voluntarily work with a professional to
reach a mutually agreeable resolution of the complaint without a formal hearing.
Interim Measures Remedial measures taken to help deescalate and offer a short-term
temporary resolution during the pendency of a resolution under this policy.

Non-Consensual Sexual Contact Any intentional sexual touching, or attempted sexual
touching, without consent.




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Non-Consensual Sexual Intercourse Having or attempting to have sexual intercourse,
cunnilingus, or fellatio without consent. Sexual intercourse is defined as anal or vaginal
penetration by a penis, tongue, finger, or inanimate object.

Notice A report of Sexual Misconduct made to the Title IX Campus Coordinator, LSU Title
IX Coordinator, Deputy Coordinator or any Responsible Employee.

Respondent A person reported to have engaged in actions that may constitute Sexual
Misconduct.

Responsible Employee Any employee given the duty of reporting actual notice of
incidents of sexual violence or any other misconduct prohibited by this policy. Responsible
Employees do not include victims’ advocates, mental health counselors, or LSU
Ombudsperson.

Retaliation Any acts or attempted acts against an individual for the purpose of
discouraging an individual from exercising a right or privilege under this policy or Title IX.
Activities protected from retaliation include reporting Sexual Misconduct, filing a Formal
Complaint, and participation in an investigation, process or Hearing, whether as a party,
witness or Advisor.

Prohibited retaliatory acts include, but are not limited to, intimidation, threats, coercion, or
discrimination. Complaints alleging retaliation may be filed according to the grievance
procedures under this policy.

Sexual Discrimination Behaviors and actions that deny or limit a person’s ability to benefit
from, and/or fully participate in the educational programs, activities, and services because
of a person’s gender or perceived gender.

Sexual Exploitation Any act attempted or committed by a person for sexual gratification,
financial gain, or other advancement through the abuse or exploitation of another person’s
sexuality. Examples of sexual exploitation include, but are not limited to, non-consensual
observation of individuals who are undressed or engaging in sexual acts, non-consensual
audio- or videotaping of sexual activity, prostituting another person, human trafficking,
allowing others to observe a personal consensual sexual act without the knowledge or
consent of all involved parties, and knowingly exposing an individual to a sexually
transmitted infection without that individual’s knowledge.

Sexual Harassment Conduct on the basis of sex that satisfies one or more of the
following:
       1. Quid Pro Quo Sexual Harassment An employee conditioning the provision of
           aid, benefit or service on the Complainant’s participation in unwelcome sexual
           conduct; or
       2. Unwelcome conduct determined by a reasonable person to be so severe,
           pervasive and objectively offensive that it effectively denies a person equal
           access to the education program or activity; or




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3. Sexual Assault
       a. Sex Offenses, Forcible – Any sexual act directed against another person,
            without the consent of the Complainant including instances where the
            Complainant is incapable of giving consent.
               (1) Forcible Rape – Penetration, no matter how slight, of the vagina or
                   anus with any body part or object, or oral penetration by a sex
                   organ of another person, without the consent of the Complainant.
               (2) Forcible Sodomy – Oral or anal sexual intercourse with another
                   person, forcibly and/or against that person’s will or not forcibly or
                   against the person’s will (non-consensually) in instances where the
                   Complainant is incapable of giving consent because of age or
                   because of temporary or permanent mental or physical incapacity.
               (3) Sexual Assault With An Object – To use an object or instrument
                   to penetrate, however slightly, the genital or anal opening of the
                   body of another person, forcibly and/or against that person’s will
                   or not forcibly or against the person’s will (non-consensually) in
                   instances where the Complainant is incapable of giving consent
                   because of age or because of temporary or permanent mental or
                   physical incapacity.
               (4) Forcible Fondling – The touching of the private body parts of
                   another person (buttocks, groin, breasts) for the purpose of sexual
                   gratification, forcibly and/or against that person’s will (non-
                   consensually) or not forcibly or against the person’s will in
                   instances where the Complainant is incapable of giving consent
                   because of age or because of temporary or permanent mental or
                   physical incapacity.
       b. Sex Offenses, Nonforcible – Nonforcible sexual intercourse.
               (1) Incest – Nonforcible sexual intercourse between persons who are
                   related to each other within the degrees wherein marriage is
                   prohibited by Louisiana law.
               (2) Statutory Rape – Nonforcible sexual intercourse with a person
                   who is under the statutory age of consent of Louisiana.
       c. Sexual Assault also includes sexual battery as defined in La. R.S. 14:43.1.
4. Dating Violence Violence committed by a person who is or has been in a social
   relationship of a romantic or intimate nature with the Complainant. The existence
   of such a relationship shall be determined based on the Complainant’s
   statement and with consideration of the length of the relationship, the type of
   relationship, and the frequency of interaction between the persons involved in
   the relationship. For the purposes of this definition, Dating Violence includes, but
   is not limited to, sexual or physical abuse or threat of such abuse. Dating
   Violence does not include acts covered under the definition of Domestic
   Violence.
5. Domestic Violence A felony or misdemeanor crime of violence committed:
       a. By a current or former spouse or intimate partner of the Complainant;
       b. By a person with whom the Complainant shares a child in common;
       c. By a person who is cohabitating with, or has cohabitated with, the
            Complainant as a spouse or intimate partner;




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             d. By a person similarly situated to a spouse of the Complainant under the
                 domestic or family violence laws of Louisiana; or
             e. By any other person against an adult or youth who is protected from that
                 person’s acts under the domestic abuse or family violence laws of
                 Louisiana.*To categorize an incident as Domestic Violence, the
                 relationship between the parties must be more than people living
                 together as roommates. The people cohabitating must be current or
                 former spouses or have an intimate relationship.
       6. Stalking Engaging in a course of conduct directed at a specific person that
          would cause a reasonable person to:
             a. Fear for the person’s safety or the safety of others; or
             b. Suffer substantial emotional distress.
             c. For the purposes of this definition
                     (1) Course of conduct means two or more acts, including, but not
                         limited to, acts in which the stalker directly, indirectly, or through
                         third parties, by any action, method, device, or means, follows,
                         monitors, observes, surveils, threatens, or communicates to or
                         about a person, or interferes with a person’s property.
                     (2) Reasonable person means a reasonable person under similar
                         circumstances and with similar identities to the Complainant.
                     (3) Substantial emotional distress means significant mental suffering
                         or anguish that may but does not necessarily require medical or
                         other professional treatment or counseling.
                     (4) Nothing in these definitions will be interpreted in a way that
                         violates the First Amendment rights of any individual.

Sexual Misconduct A sexual act or contact of a sexual nature that occurs, regardless of
personal relationship, without the consent of the other person(s), or that occurs when the
person(s) is unable to give consent or whose consent is coerced or obtained in a
fraudulent manner. For the purpose of this Policy, Sexual Misconduct includes, but is not
limited to, sexual abuse, violence of a sexual nature, Sexual Harassment, Non-Consensual
Sexual Intercourse, Sexual Exploitation, video voyeurism, or the obtaining, posting or
disclosure of intimate descriptions, photos, or videos without the express consent or the
persons depicted therein, as well as dating violence, domestic violence and stalking, as
well as crimes of a sexual nature as defined in Title 14 of the Louisiana Revised Statutes or
at La. R.S. 44:51.

Sexually-Oriented Criminal Offense Any sexual assault offense as defined in La. R.S.
44:51, and any sexual abuse offense as defined in La. R.S. 14:403.

Supportive Measures Non-disciplinary, non-punitive individualized services offered as
appropriate, as reasonably available, and without fee or charge to the Complainant or
Respondent regardless of whether a formal complaint has been filed. Such measures are
designed to restore or preserve equal access to the education program or activity without
unreasonably burdening the other party, including measures designed to protect the
safety of all parties or the educational environment, or deter Sexual Misconduct.
Supportive measure may include, but are not limited to;




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          •   Mental of physical health services;
          •   Academic arrangements or adjustments;
          •   Modifications of work of class schedules;
          •   Mutual restrictions on contact between the parties;
          •   Changes in work, housing or academic locations;
          •   Leaves of absence; and/or
          •   Increased security and monitoring of certain areas of campus.

Supportive measures shall remain as confidential to the extent that such confidentiality
would not impair the ability to provide the supportive measures. The Title IX Campus
Coordinator shall bear responsibility for coordinating the effective implementation of
supportive measures.




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                                PM 73 Process Flow Chart
                                     LSU community member experiences conduct within PM 73 purview


                                      Conduct reported to official with Authority/Responsible Employee


                                                TIX Coordinator meets with Complainant about
                                                      Supportive Measures and Process


     Conduct meets definition and jurisdiction of Title IX Sexual           Conduct does not meet definition OR jurisdiction of Title IX Sexual
                           Harassment                                                               Harassment


     Formal complaint                       No formal complaint
  signed by complainant                    signed by complainant
                                                                                      Staff/Faculty
                                                                                                                       Student Respondent
                                                                                      Respondent
                                           Title IX            Title IX
   Notice of Allegations                                    Coordinator
                                        Coordinator
 sent to Respondent and                                        agrees
                                        signs formal
         Advisor                                             supportive            Human Resources                       Student Conduct
                                         complaint
                                                              measures                Process                                Process
                                                                only
TIX Coordinator meets with
  Respondent- Supportive
   Measures and Process

                                                                                                              Note: Informal Resolution can
      Investigation
                                                                                                              occur at any time following
                                                                                                              formal complaint and prior to a
       Prehearing                                                                                             finding of responsibility.
       conference

         Hearing

          Appeal                                                                                                              Exhibit A
